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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            PINE BLUFF DIVISION

JAMAR WILLIAMS,                                                            PETITIONER
ADC # 140609

v.                         CASE NO. 5:14CV00363 BSM

GREG BOLIN, Chief Deputy,
W.C. “Dub” Brassell Detention Center                                     RESPONDENT

                                     JUDGMENT

      Consistent with the order that was entered on this day, this case is hereby dismissed

as moot.

      DATED this 14th day of May 2015.



                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
